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                                                                                                          IN THE UNITED STATES DISTRICT COURT
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                                                                                                   FOR THE NORTHERN DISTRICT OF CALIFORNIA
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                                                                              JOSEPH GLASS, et al.,                            No. C-06-4068 MMC
                                                                         9
                                                                                            Plaintiffs,                        ORDER (1) GRANTING MOTIONS TO
                                                                         10                                                    STRIKE D’ARIA MEMORANDUM FILED
                                                                                                                               IN RESPONSE TO COURT’S ORDER
                                                                         11
United States District Court




                                                                                v.                                             RE: LAWRENCE R. KAUFMANN’S
                                                                                                                               WITHDRAWAL OF OBJECTIONS TO
                               For the Northern District of California




                                                                         12                                                    PROPOSED SETTLEMENT;
                                                                                                                               (2) GRANTING APPROVAL OF
                                                                         13                                                    LAWRENCE R. KAUFMANN’S
                                                                              UBS FINANCIAL SERVICES, INC., et al.,            WITHDRAWAL OF OBJECTIONS TO
                                                                         14                                                    SETTLEMENT
                                                                                            Defendants.
                                                                         15                                                /   (Docket Nos. 106, 121)
                                                                         16
                                                                         17          On November 15, 2006, the Court received, from an attorney representing proposed
                                                                         18   intervenor Lawrence R. Kaufmann (“Kaufmann”), a letter dated November 13, 2006, along
                                                                         19   with Kaufmann’s declaration, by which documents Kaufmann sought to withdraw his motion
                                                                         20   to intervene in the instant action. By order issued November 16, 2006, the Court deemed
                                                                         21   the motion to intervene withdrawn, but noted that the motion also contained objections to
                                                                         22   the proposed class action settlement and that such objections “may be withdrawn only with
                                                                         23   the court’s approval.” See Fed. R. Civ. P. 23(e)(4)(B). In its November 16, 2006 order, the
                                                                         24   Court afforded “the parties” the opportunity to brief the issue of whether the Court should
                                                                         25   approve Kaufmann’s withdrawal of his objections to the proposed settlement. (See Order
                                                                         26   re: Lawrence R. Kaufmann’s Withdrawal of Motion to Intervene and Objection to
                                                                         27   Settlement, filed Nov. 16, 2006, at 1.)
                                                                         28          On December 1, 2006, plaintiffs and defendants, respectively, filed separate
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1    responses to the Court’s November 16, 2006 order, arguing, in each instance, that the
2    Court should permit Kaufmann to withdraw his objections. Also on that date, Kaufmann’s
3    former counsel of record filed a memorandum on behalf of class member Anthony D’Aria
4    (“D’Aria”) along with an accompanying declaration from counsel (collectively, “D’Aria
5    memorandum”), arguing that the Court should not permit Kaufmann to withdraw his
6    objections.
7           On December 1, 2006, plaintiffs filed a motion to strike the D’Aria memorandum. On
8    December 11, 2006, defendants filed a separate motion to strike the D’Aria memorandum.
9    On December 29, 2006, D’Aria filed a consolidated opposition to the motions to strike, and,
10   on January 5, 2007, UBS filed a reply.1
11          The Court will GRANT the motions to strike the D’Aria memorandum, for two
12   reasons. First, D’Aria, as a member of the class, is represented by plaintiffs’ counsel; when
13   the Court sought the parties’ comments on the propriety of permitting Kaufmann to
14   withdraw his objections, the Court did not invite the filing of individual briefs by members of
15   the class. Second, D’Aria did not submit a timely objection to the proposed settlement2
16   and, by the instant memorandum, is expressly endeavoring to adopt Kaufmann’s objections
17   as his own; the Court has already denied D’Aria’s request for such relief. (See Order
18   Denying Anthony D’Aria’s Motion to Join or be Substituted for Lawrence R. Kaufmann, filed
19   Nov. 16, 2006, at 2.)
20          Turning to the issue of whether Kaufmann’s withdrawal of his objections to the
21   proposed settlement should be approved, the Court first finds, contrary to the arguments of
22   both plaintiffs and defendants, Kaufmann’s objections were timely. Although Kaufmann did
23   not separately file his objections in the format set forth in the Class Notice, he substantially
24   complied with the Class Notice by submitting those objections in his motion to intervene,
25
26          1
                Plaintiffs have not filed a reply.
27          2
               Indeed, rather than file an objection, D’Aria submitted a consent form authorizing
     plaintiffs’ counsel to act on his behalf, as well as a claim form, by which D’Aria sought to
28   participate in the proposed settlement. (See Wilcox Reply Decl. Exs. A and B.)

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1    which was filed prior to the deadline for objecting to the settlement. As Rule 23(e)(4)(B)
2    does not limit its applicability to objections made only in a particular format, the Court finds
3    said Rule is applicable to Kaufmann’s request to withdraw.
4           As noted, pursuant to Rule 23(e)(4)(B), a class member’s objection to a proposed
5    settlement “may be withdrawn only with the court’s approval.” See Fed. R. Civ. P.
6    23(e)(4)(B). The Rule itself does not set forth the circumstances under which such
7    approval may be given, nor is there any controlling authority on the issue. The Advisory
8    Committee Notes, however, provide the following guidance:
9           Subdivision (e)(4)(B) requires court approval for withdrawal of objections
            made under subdivision (e)(4)(A). Review follows automatically if the
10          objections are withdrawn on terms that lead to modification of the settlement
            with the class. Review also is required if the objector formally withdraws the
11          objections. If the objector simply abandons pursuit of the objection, the court
            may inquire into the circumstances.
12
            Approval under paragraph (4)(B) may be given or denied with little need for
13          further inquiry if the objection and the disposition go only to a protest that the
            individual treatment afforded the objector under the proposed settlement is
14          unfair because of factors that distinguish the objector from other class
            members. Different considerations may apply if the objector has protested
15          that the proposed settlement is not fair, reasonable, or adequate on grounds
            that apply generally to a class or subclass. Such objections, which purport to
16          represent class-wide interests, may augment the opportunity for obstruction
            or delay. If such objections are surrendered on terms that do not affect the
17          class settlement or the objector's participation in the class settlement, the
            court often can approve withdrawal of the objections without elaborate inquiry.
18
     See Fed. R. Civ. P. 23, Advisory Committee Notes, 2003 Amendments.
19
            Here, Kaufmann’s objections were made on grounds that apply generally to the
20
     class. Although those objections were withdrawn on terms that did not directly affect the
21
     terms of the class settlement or Kaufmann’s participation therein, Kaufmann did obtain a
22
     personal benefit, forgiveness of a loan, in exchange for withdrawing. (See Kaufmann Decl.,
23
     filed Nov. 15, 2006, ¶¶ 2-4.)3 Nevertheless, Kaufmann is not the sole objector, and the
24
25
            3
              There is no admissible evidence to support D’Aria’s contention that UBS first
26   approached Kaufmann to induce him to withdraw. Rather, the evidence is to the contrary.
     (See id.; see also Notice of Lawrence R. Kauffman’s Withdrawn Objection to Proposed
27   Settlement Ex. C (Browne Decl.), filed Nov. 14, 2006, ¶¶ 2-6.) The Court sustains
     defendants’ objection to the hearsay declaration of Kenneth Lehn, filed December 15,
28   2006, in support of D’Aria’s motion to intervene.

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1    Court has before it, as submitted by other class members and, as amicus, by the Attorney
2    General of the State of New York, largely the same arguments against the proposed
3    settlement that were asserted by Kaufmann. Under such circumstances, the Court finds it
4    appropriate to allow Kaufmann to withdraw his objections.
5          Accordingly, for the reasons set forth above,
6          1. Plaintiffs’ and defendants’ motions to strike the D’Aria memorandum are hereby
7    GRANTED.
8          2. Kaufmann’s withdrawal of his objections to the proposed settlement is hereby
9    APPROVED.
10         This order terminates Docket Nos. 106 and 121.
11         IT IS SO ORDERED.
12
     Dated: January 17, 2007                           MAXINE M. CHESNEY
13                                                     United States District Judge
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